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                                     9
                                    10                          UNITED STATES DISTRICT COURT
                                    11                         SOUTHERN DISTRICT OF CALIFORNIA
                                    12                                                                          '10CV2507 JAH RBB
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                                               Izabela Mazurek                                    Case Number: ________________
                                    13
                 Phoenix, Arizona




                                    14                              Plaintiff,                    Complaint For Damages
                                               v.
                                    15                                                            Jury Trial Demanded
                                    16         Dekalb County Solutions, Inc.

                                    17                              Defendant.
                                    18
                                    19
                                    20                                             INTRODUCTION
                                    21    1.        The United States Congress has found abundant evidence of the use of
                                    22              abusive, deceptive, and unfair debt collection practices by many debt
                                    23              collectors, and has determined that abusive debt collection practices
                                    24              contribute to the number of personal bankruptcies, to marital instability, to the
                                    25              loss of jobs, and to invasions of individual privacy. Congress wrote the Fair
                                    26              Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
                                    27              “FDCPA”), to eliminate abusive debt collection practices by debt collectors,
                                    28              to insure that those debt collectors who refrain from using abusive debt

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                                     1          collection practices are not competitively disadvantaged, and to promote
                                     2          consistent State action to protect consumers against debt collection abuses.
                                     3    2.    The California legislature has determined that the banking and credit system
                                     4          and grantors of credit to consumers are dependent upon the collection of just
                                     5          and owing debts and that unfair or deceptive collection practices undermine
                                     6          the public confidence that is essential to the continued functioning of the
                                     7          banking and credit system and sound extensions of credit to consumers. The
                                     8          Legislature has further determined that there is a need to ensure that debt
                                     9          collectors exercise this responsibility with fairness, honesty and due regard
                                    10          for the debtor’s rights and that debt collectors must be prohibited from
                                    11          engaging in unfair or deceptive acts or practices.
                                    12    3.    Izabela Mazurek, (Plaintiff), through Plaintiff's attorneys, brings this action to
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                                    13          challenge the actions of Dekalb County Solutions, Inc., (“Defendant”), with
                 Phoenix, Arizona




                                    14          regard to attempts by Defendant to unlawfully and abusively collect a debt
                                    15          allegedly owed by Plaintiff, and this conduct caused Plaintiff damages.
                                    16    4.    Plaintiff makes these allegations on information and belief, with the exception
                                    17          of those allegations that pertain to a plaintiff, or to a plaintiff's counsel, which
                                    18          Plaintiff alleges on personal knowledge.
                                    19    5.    While many violations are described below with specificity, this Complaint
                                    20          alleges violations of the statutes cited in their entirety.
                                    21    6.    Unless otherwise stated, all the conduct engaged in by Defendant took place
                                    22          in California.
                                    23    7.    Any violations by Defendant were knowing, willful, and intentional, and
                                    24          Defendant did not maintain procedures reasonably adapted to avoid any such
                                    25          violation.
                                    26                                      JURISDICTION AND VENUE
                                    27    8.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
                                    28          1692(k), and 28 U.S.C. § 1367 for supplemental state claims.

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                                     1    9.    This action arises out of Defendant's violations of the Fair Debt Collection
                                     2          Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”) and the Rosenthal Fair
                                     3          Debt Collection Practices Act, California Civil Code §§ 1788-1788.32
                                     4          (“Rosenthal Act”).
                                     5    10.   Because Defendant does business within the State of California, personal
                                     6          jurisdiction is established.
                                     7    11.   Venue is proper pursuant to 28 U.S.C. § 1391.
                                     8    12.   At all times relevant, Defendant conducted business within the State of
                                     9          California.
                                    10                                                  PARTIES
                                    11    13.   Plaintiff is a natural person who resides in the City of San Diego, State of
                                    12          California.
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                                    13    14.   Defendant is located in the City of Sycamore, in the State of Illinois.
                 Phoenix, Arizona




                                    14    15.   Plaintiff is obligated or allegedly obligated to pay a debt, and is a “consumer”
                                    15          as that term is defined by 15 U.S.C. § 1692a(3).
                                    16    16.   Defendant is a person who uses an instrumentality of interstate commerce or
                                    17          the mails in a business the principal purpose of which is the collection of
                                    18          debts, or who regularly collects or attempts to collect, directly or indirectly,
                                    19          debts owed or due or asserted to be owed or due another and is therefore a
                                    20          debt collector as that phrase is defined by 15 U.S.C. § 1692a(6).
                                    21    17.   Plaintiff is a natural person from whom a debt collector sought to collect a
                                    22          consumer debt which was due and owing or alleged to be due and owing from
                                    23          Plaintiff, and is a “debtor” as that term is defined by California Civil Code §
                                    24          1788.2(h).
                                    25    18.   Defendant, in the ordinary course of business, regularly, on behalf of himself,
                                    26          herself, or others, engages in debt collection as that term is defined by
                                    27          California Civil Code § 1788.2(b), is therefore a debt collector as that term is
                                    28          defined by California Civil Code § 1788.2(c).

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                                     1    19.   This case involves money, property or their equivalent, due or owing or
                                     2          alleged to be due or owing from a natural person by reason of a consumer
                                     3          credit transaction. As such, this action arises out of a consumer debt and
                                     4          “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(f).
                                     5                                        FACTUAL ALLEGATIONS
                                     6    20.   Sometime before September 1, 2010, Plaintiff is alleged to have incurred
                                     7          certain financial obligations.
                                     8    21.   These financial obligations were primarily for personal, family or household
                                     9          purposes and are therefore a “debt” as that term is defined by 15 U.S.C.
                                    10          §1692a(5).
                                    11    22.   These alleged obligations were money, property, or their equivalent, which is
                                    12          due or owing, or alleged to be due or owing, from a natural person to another
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                                    13          person and are therefore a “debt” as that term is defined by California Civil
                 Phoenix, Arizona




                                    14          Code §1788.2(d), and a “consumer debt” as that term is defined by California
                                    15          Civil Code §1788.2(f).
                                    16    23.   Sometime thereafter, but before September 1, 2010, Plaintiff allegedly fell
                                    17          behind in the payments allegedly owed on the alleged debt. Plaintiff currently
                                    18          takes no position as to the validity of this alleged debt.
                                    19    24.   Subsequently, but before September 1, 2010, the alleged debt was assigned,
                                    20          placed, or otherwise transferred, to Defendant for collection.
                                    21    25.   On or about early September 2010, Defendant telephoned Plaintiff at her
                                    22          place of employment and demanded payment of the alleged debt.
                                    23    26.   This communication to Plaintiff was a “communication” as that term is
                                    24          defined by 15 U.S.C. § 1692a(2), and an “initial communication” consistent
                                    25          with 15 U.S.C. § 1692g(a).
                                    26    27.   This communication was a “debt collection” as Cal. Civ. Code 1788.2(b)
                                    27          defines that phrase, and an “initial communication” consistent with Cal. Civ.
                                    28          Code § 1812.700(b).

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                                     1    28.   Defendant failed within five days after its initial communication with
                                     2          Plaintiff, to provide written notification containing a statement that unless
                                     3          Plaintiff, within thirty days after receipt of that notice, disputed the validity of
                                     4          the debt, or any portion thereof, Defendant would assume the debt was valid,
                                     5          or failed within five days after its initial communication with Plaintiff to
                                     6          provide a written notice containing a statement that if Plaintiff notified
                                     7          Defendant in writing, within the thirty-day period that the debt, or any portion
                                     8          thereof, was disputed, Defendant would obtain verification of the debt or a
                                     9          copy of a judgment against Plaintiff and a copy of such verification or
                                    10          judgment would be mailed to Plaintiff by Defendant and that Defendant
                                    11          would provide Plaintiff with the name and address of the original creditor.
                                    12          This omission by Defendant violated 15 U.S.C. § 1692g.
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                                    13    29.   Because this omission violated the language in 15 U.S.C. § 1692g, Defendant
                 Phoenix, Arizona




                                    14          also violated Cal. Civ. Code § 1788.17 as it incorporates 15 U.S.C. § 1692g.
                                    15    30.   Defendant, a third party debt collector, failed, in the first written notice
                                    16          initially addressed to Plaintiff's California address in connection with
                                    17          collecting the alleged debt by Defendant, pursuant to Cal. Civ. Code §
                                    18          1812.700, and in the manner prescribed by Cal. Civ. Code § 1812.700(b) and
                                    19          Cal. Civ. Code § 1812.701(b), to provide a notice to Plaintiff as prescribed in
                                    20          Cal. Civ. Code § 1812.700(a). Consequently, pursuant to Cal. Civ. Code §
                                    21          1812.702, this omission by Defendant violated the Rosenthal Act.
                                    22    31.   During this conversation with Defendant, Plaintiff advised Defendant that
                                    23          Plaintiff's employer prohibited Plaintiff from receiving such communications
                                    24          at Plaintiff's place of employment in a manner consistent with 15 U.S.C.
                                    25          §1692c(a)(3), and also advised Defendant that calls at Plaintiff's place of
                                    26          employment was inconvenient, as prescribed in 15 U.S.C. §1692c(a)(1).
                                    27    32.   To ensure that Defendant would not call Plaintiff’s place of employment
                                    28          again, Plaintiff provided Defendant an alternate phone number.

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                                     1    33.   On or about November 4, 2010, Plaintiff again received a telephone call from
                                     2          Defendant at Plaintiff's place of employment.                   This telephone call was a
                                     3          “communication” as 15 U.S.C. §1692a(2) defines that term, and a “debt
                                     4          collection” as that phrase is defined by Cal. Civ. Code § 1788.2(b).
                                     5    34.   Because Defendant knew or had reason to know that the Plaintiff's employer
                                     6          prohibits Plaintiff from receiving such communications and that such calls
                                     7          were inconvenient, this action by Defendant violated 15 U.S.C. § 1692c(a)(1)
                                     8          and 15 U.S.C. § 1692c(a)(3), and because this action violated the language in
                                     9          15 U.S.C. § 1692c(a)(1) and 15 U.S.C. § 1692c(a)(3), this action also violated
                                    10          Cal. Civ. Code 1788.17.
                                    11    35.   During this conversation, Plaintiff explained she did not have the money to
                                    12          pay this alleged debt at that time. Defendant then threatened to call Plaintiff’s
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                                    13          work again under the guise of “verifying her employment.”
                 Phoenix, Arizona




                                    14    36.   This statement was a false, deceptive, or misleading representation or means
                                    15          in connection with the collection of the alleged debt. As such, this action by
                                    16          Defendant violated 15 U.S.C. §§ 1692e and 1692e(10), and because this
                                    17          action violated the language in 15 U.S.C. §§ 1692e and 1692e(10), it also
                                    18          violated Cal. Civ. Code § 1788.17.
                                    19    37.   Through this conduct, Defendant threatened to take action that cannot legally
                                    20          be taken or that is not intended to be taken. Consequently, Defendant violated
                                    21          15 U.S.C. § 1692e(5).
                                    22    38.   Through this conduct, Defendant used an unfair or unconscionable means to
                                    23          collect or attempt to collect any debt. Consequently, Defendant violated 15
                                    24          U.S.C. § 1692f.
                                    25    39.   Through this conduct, Defendant engaged in conduct the natural consequence
                                    26          of which was to harass, oppress, or abuse a person in connection with the
                                    27          collection of a debt. Consequently, Defendant violated 15 U.S.C. § 1692d.
                                    28

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                                     1    40.   Because this violated certain portions of the federal Fair Debt Collection
                                     2          Practices Act as these portions are incorporated by reference in the Rosenthal
                                     3          Fair Debt Collection Practices Act, through California Civil Code § 1788.17,
                                     4          this conduct or omission violated Cal. Civ. Code § 1788.17.
                                     5    41.   During this same conversation, Defendant threatened to take Plaintiff to court
                                     6          and garnish her wages, despite knowing the account was from 2001 and
                                     7          outside any applicable statute of limitations.
                                     8    42.   This statement was a false, deceptive, or misleading representation or means
                                     9          in connection with the collection of the alleged debt. As such, this action by
                                    10          Defendant violated 15 U.S.C. §§ 1692e and 1692e(10), and because this
                                    11          action violated the language in 15 U.S.C. §§ 1692e and 1692e(10), it also
                                    12          violated Cal. Civ. Code § 1788.17.
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                                    13    43.   Through this conduct, Defendant threatened to take action that cannot legally
                 Phoenix, Arizona




                                    14          be taken or that is not intended to be taken. Consequently, Defendant violated
                                    15          15 U.S.C. § 1692e(5).
                                    16    44.   Through this conduct, Defendant used an unfair or unconscionable means to
                                    17          collect or attempt to collect any debt. Consequently, Defendant violated 15
                                    18          U.S.C. § 1692f.
                                    19    45.   Through this conduct, Defendant engaged in conduct the natural consequence
                                    20          of which was to harass, oppress, or abuse a person in connection with the
                                    21          collection of a debt. Consequently, Defendant violated 15 U.S.C. § 1692d.
                                    22    46.   Because this violated certain portions of the federal Fair Debt Collection
                                    23          Practices Act as these portions are incorporated by reference in the Rosenthal
                                    24          Fair Debt Collection Practices Act, through California Civil Code § 1788.17,
                                    25          this conduct or omission violated Cal. Civ. Code § 1788.17.
                                    26    47.   Due to Defendant’s abusive action concentrated over a short amount of time,
                                    27          Plaintiff being pregnant suffered actual damages in the form of mental
                                    28          anguish which manifested itself in the following symptoms including but not

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                                     1           limited to: nervousness, stress, anxiety, embarrassment, and fear of answering
                                     2           her telephone or talking to co-workers all impacting her work, and causing
                                     3           her to fear for the health of her unborn child.
                                     4                                           CAUSES OF ACTION
                                     5                                                  COUNT I
                                     6                      FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
                                     7                                       15 U.S.C. §§ 1692 ET SEQ.
                                     8    48.    Plaintiff repeats, re-alleges, and incorporates by reference, all other
                                     9           paragraphs.
                                    10    49.    The foregoing acts and omissions constitute numerous and multiple violations
                                    11           of the FDCPA, including but not limited to each and every one of the above-
                                    12           cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
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                                    13    50.    As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                 Phoenix, Arizona




                                    14           any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in
                                    15           an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,
                                    16           reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
                                    17           Defendant.
                                    18                                                 COUNT II
                                    19          ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT (ROSENTHAL ACT)
                                    20                                  CAL. CIV. CODE §§ 1788-1788.32
                                    21    51.    Plaintiff repeats, re-alleges, and incorporates by reference, all other
                                    22           paragraphs.
                                    23    52.    The foregoing acts and omissions constitute numerous and multiple violations
                                    24           of the Rosenthal Act, including but not limited to each and every one of the
                                    25           above-cited provisions of the Rosenthal Act, Cal. Civ. Code §§ 1788-1788.32
                                    26    53.    As a result of each and every violation of the Rosenthal Act, Plaintiff is
                                    27           entitled to any actual damages pursuant to Cal. Civ. Code § 1788.30(a);
                                    28           statutory damages for a knowing or willful violation in the amount up to

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                                     1          $1,000.00 pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorney’s
                                     2          fees and costs pursuant to Cal. Civ. Code § 1788.30(c) from Defendant.
                                     3                                          PRAYER FOR RELIEF
                                     4    WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
                                     5    Plaintiff be awarded damages from Defendant, as follows:
                                     6          •      An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
                                     7          •      An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
                                     8                 1692k(a)(2)(A);
                                     9          •      An award of costs of litigation and reasonable attorney’s fees, pursuant
                                    10                 to 15 U.S.C. § 1692k(a)(3);
                                    11          •      An award of actual damages pursuant to California Civil Code §
                                    12                 1788.30(a);
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                                    13          •      An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code
                 Phoenix, Arizona




                                    14                 § 1788.30(b);
                                    15          •      An award of costs of litigation and reasonable attorney’s fees, pursuant
                                    16                 to Cal. Civ. Code § 1788.30(c).
                                    17    54.   Pursuant to the seventh amendment to the Constitution of the United States of
                                    18          America, Plaintiff is entitled to, and demands, a trial by jury.
                                    19
                                    20    Respectfully submitted,
                                                                                                   Hyde & Swigart
                                    21
                                    22
                                          Date: 12/01/10                                          By: /s/ David J. McGlothlin
                                    23
                                                                                                  David J. McGlothlin
                                    24                                                            Attorneys for Plaintiff
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